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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:15-cv-01154-MSK-CBS

  RODNEY MARQUEZ,

                         Plaintiff,

  v

  PERFECTION COLLECTION, LLC,

                         Defendant.


                                                ORDER


  Magistrate Judge Shaffer

         This matter comes before the court on the “Motion to Vacate Entry of Default” (Doc. 18),

  filed on November 6, 2015. This Motion was referred to the Magistrate Judge pursuant to the

  Order of Reference. (Doc. 19). The court has carefully considered the Motion, the entire case

  file, and the applicable law.

         On September 14, 2015, the Clerk issued an entry of default against Defendant. (Doc.

  10). Thereafter, Plaintiff moved for an order of default judgment. (Doc. 15). However, Plaintiff

  has now informed the court that the parties have reached a settlement (Doc. 17) and, therefore,

  requests that the Clerk’s entry of default be set aside.

         Consequently, for good cause shown, Fed. R. Civ. P. 55(c), Plaintiff’s “Motion to Vacate

  Entry of Default” is GRANTED, and the Clerk of Court is directed to set aside the entry of

  default against Defendant Perfection Collection, LLC. It is FURTHER ORDERED that the

  parties will submit their dismissal paperwork no later than December 18, 2015.

         DATED at Denver, Colorado, this 9th day of November, 2015.

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                                           BY THE COURT:

                                           s/Craig B. Shaffer__________
                                           United States Magistrate Judge




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